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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


    In re:                                                                 Chapter 11

    23ANDME HOLDING CO., et al.,1                                          Case No. 25-40976

                              Debtors.                                     (Joint Administration Requested)

                                                                           Hearing Date: TBD2
                                                                           Hearing Time: TBD
                                                                           Hearing Location: TBD


      DEBTORS’ MOTION FOR ENTRY OF AN ORDER (I) EXTENDING THE TIME
         TO FILE SCHEDULES OF ASSETS AND LIABILITIES, SCHEDULES OF
       CURRENT INCOME AND EXPENDITURES, SCHEDULES OF EXECUTORY
      CONTRACTS AND UNEXPIRED LEASES AND STATEMENTS OF FINANCIAL
         AFFAIRS, (II) EXTENDING THE TIME TO SCHEDULE THE MEETING
     OF CREDITORS, (III) WAIVING THE REQUIREMENT TO FILE EQUITY LISTS
    AND PROVIDE NOTICE TO EQUITY SECURITY HOLDERS, (IV) AUTHORIZING
           THE DEBTORS TO FILE (A) A CONSOLIDATED LIST OF COUNSEL
        REPRESENTING CYBER SECURITY INCIDENT CLAIMANTS AND (B) A
    CONSOLIDATED LIST OF OTHER UNSECURED CREDITORS OF THE DEBTORS,
       (V) AUTHORIZING THE DEBTORS TO PREPARE A CONSOLIDATED AND
     REDACTED LIST OF CREDITORS IN LIEU OF SUBMITTING SEPARATE AND
    REFORMATTED CREDITOR MATRICES FOR EACH DEBTOR, (VI) APPROVING
      THE MANNER OF NOTIFYING CREDITORS OF THE COMMENCEMENT OF
         THESE CHAPTER 11 CASES, AND (VII) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion:




1     A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’ service address
      for purposes of these chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
2     The Debtors will file a notice stating the date, time, and location of the first day hearing once this information
      becomes available.
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                                              Relief Requested3

        1.        The Debtors seek entry of an order (the “Proposed Order”)4 (a) extending the 14-

day period to file their schedules of assets and liabilities, schedules of current income and

expenditures, schedules of executory contracts and unexpired lease and statements of financial

affairs (collectively, the “Schedules and Statements”) by an additional 22 days, without prejudice

to the Debtors’ ability to request additional extensions for cause shown; (b) authorizing the Office

of the United States Trustee for the Eastern District of Missouri (the “U.S. Trustee”) to schedule

the meeting of creditors after the 40-day deadline imposed by Bankruptcy Rule 2003(a);

(c) waiving the requirements to file a list of equity security holders (the “Equity List”) and to give

notice of the order for relief to all equity security holders for 23andMe Holding Co.; (d) authorizing

the Debtors to file a consolidated list of counsel representing Cyber Security Incident Claimants;

(e) authorizing the Debtors to file a consolidated list of other unsecured creditors of the Debtors;

(f) authorizing the Debtors to (i) file a consolidated list of creditors in lieu of submitting separate

and reformatted creditor matrices for each Debtor and (ii) redact or withhold certain confidential

information of customers and personal information of individuals; (g) authorizing the Debtors to

implement certain procedures for mailing the notice announcing the commencement of these

chapter 11 cases and the meeting of creditors (the “Notice of Commencement”); and (h) granting

related relief.




3   Capitalized terms used but not defined in this section have the meanings ascribed to such terms elsewhere in this
    motion.
4   Copies of the Proposed Order will be made available on the website of the Debtors’ proposed claims and noticing
    agent at https://restructuring.ra.kroll.com/23andMe.



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                                         Jurisdiction and Venue

        2.      The United States Bankruptcy Court for the Eastern District of Missouri

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and

rule 9.01(B) of the Local Rules of the United States District Court for the Eastern District of

Missouri. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors

consent to a final order with respect to this motion to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The bases for the relief requested herein are sections 105(a), 107 and 521 of title 11

of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and rules 1007(c),

2002, 9006(b), 9007, and 9018 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”) and rules 1002(C), 1007-6(A), 1007-7, 2002-1, and 2002-2 of the Local Rules of

Bankruptcy Procedure for the Eastern District of Missouri (the “Local Rules”).

                                                Background

        5.      23andMe Holding Co. (collectively with its Debtor subsidiaries and non-Debtor

affiliates,5 the “Company”) is a leading human genetics and telehealth company with a mission to

help people access, understand, and benefit from the human genome. The Company pioneered

direct access to genetic information as the only company with multiple FDA clearances for genetic

health reports. Further, through its Lemonaid Health telehealth platform, the Company operates

as a national online doctor’s office that provides medical care, pharmacy fulfillment, and

laboratory testing services.


5   Non-Debtor affiliates exclude any controlling shareholder of 23andMe Holding Co.



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         6.      On March 24, 2025 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code.

         7.      The Debtors are operating their business and managing their property as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors have filed

a motion requesting procedural consolidation and joint administration of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b) substantially contemporaneously herewith. No request for

the appointment of a trustee or examiner has been made in these chapter 11 cases, and no

committees have been appointed or designated at this time.

         8.      A detailed description of the Debtors and their business, including the facts and

circumstances giving rise to the Debtors’ chapter 11 cases, is set forth in the Declaration of

Matthew Kvarda in Support of Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”), filed substantially contemporaneously herewith and incorporated herein by

reference.6

                                             Basis for Relief

A.       The Court Should Extend the Time for the Debtors to File the Schedules and
         Statements and for the U.S. Trustee to Hold the Section 341 Meeting

         9.      Section 521 of the Bankruptcy Code and Bankruptcy Rule 1007(c) ordinarily

require debtors to file their Schedules and Statements within 14 days after their petition date.

However, the Court has authority to extend the time required for filing of the Schedules and

Statements “for cause.” Fed. R. Bankr. P. 1007(c) and 9006(b). Similarly, Local Rule 1007-6(A)

provides for extending the filing deadline for Schedules and Statements.




6    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day
     Declaration.



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       10.     Good cause exists for granting an extension of the time to file Schedules and

Statements. To prepare the Schedules and Statements, the Debtors must compile information from

books, records, and documents relating to the claims of the Debtors’ numerous creditors, as well

as the Debtors’ many assets and agreements. This information is voluminous and collecting it

requires an enormous expenditure of time and effort on the part of the Debtors, their employees,

and their professional advisors in the near term.

       11.     Notably, in the days leading up to the Petition Date, the Debtors’ management, key

personnel, and professionals have been diligently preparing for the commencement of these

chapter 11 cases. Focusing the attention of the Debtors’ key personnel on critical operational and

chapter 11 compliance issues at the outset of these chapter 11 cases—rather than preparing the

Schedules and Statements—will facilitate and enable the Debtors’ smooth transition into

chapter 11 and preserve value for the Debtors’ estates, creditors, and other parties in interest.

Moreover, an extension will not harm creditors or other parties in interest because, even under the

extended deadline, the Debtors will file the Schedules and Statements in advance of any deadline

for filing proofs of claim in these chapter 11 cases.

       12.     Due to the quantity of work necessary to complete the Schedules and Statements

and the competing demands upon the Debtors’ employees and professionals to assist in efforts to

stabilize business operations during this critical time, the Debtors will not be able to properly and

accurately complete the Schedules and Statements within the required 14-day period. The Debtors

anticipate that they will require at least 22 additional days to complete their Schedules and

Statements. The Debtors therefore request that the Court extend the 14-day time period for an

additional 22 days, through and including April 28, 2025, without prejudice to the Debtors’ right

to seek further extensions.




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        13.     In addition, Bankruptcy Rule 2003(a) provides that in a chapter 11 case the U.S.

Trustee “shall call a meeting of creditors to be held no fewer than 21 and no more than 40 days

after the order for relief” (the “Section 341 Meeting”). Fed. R. Bankr. P. 2003(a). However,

Local Rule 1007-6(A) allows the U.S. Trustee to reschedule the Section 341 Meeting if the Court

extends the time for filing the Schedules and Statements to a date that is less than ten days before

the scheduled Section 341 Meeting. To the extent the U.S. Trustee wishes to schedule the Section

341 Meeting on a date that is more than 40 days after the Petition Date, the Debtors also request

that the Court authorize the U.S. Trustee to do so.

B.      The Court Should Waive the Equity List and Equity Notice Requirements

        14.     Bankruptcy Rule 1007(a)(3) requires a debtor to file, within 14 days after the

petition date, a list of the debtor’s equity security holders (the “Equity List”). See Fed. R. Bankr.

P. 1007(a)(3). Bankruptcy Rule 2002(d), in turn, requires that equity security holders be provided

notice of, among other things, the commencement of the bankruptcy case and the confirmation

hearing. See Fed. R. Bankr. P. 2002(d). Bankruptcy courts have authority to modify or waive the

requirements under both rules. See Fed. R. Bankr. P. 1007(a)(3) (“[U]nless the court orders

otherwise, the debtor shall file . . . a list of the debtor’s equity security holders . . . .”); Fed. R.

Bankr. P. 2002(d) (“[U]nless the court orders otherwise, the clerk . . . shall in the manner and form

directed by the court . . . give notice to all equity security holders . . . .”); see also 11 U.S.C. §

105(a) (“The court may issue any order, process, or judgment that is necessary or appropriate to

carry out the provisions of this title.”); Fed. R. Bankr. P. 9007 (“When notice is to be given under

these rules, the court shall designate, if not otherwise specified herein, the time within which, the

entities to whom, and the form and manner in which the notice shall be given.”).

        15.     The Debtors submit that the requirements to file a list of, and to provide notice

directly to, equity security holders should be modified as to Debtor 23andMe Holding Co.


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(“HoldCo”) in these chapter 11 cases. As an initial matter, each of the Debtors, aside from HoldCo,

has disclosed all of its equity security holders in the Equity Lists filed with their respective

petitions. HoldCo, however, is a publicly traded company with approximately 26.8 million shares

of common stock outstanding as of the Petition Date. Accordingly, preparing and submitting such

a list with last known addresses for each such equity security holder and sending notices to all such

parties with respect to HoldCo will be expensive and time consuming.

       16.     In lieu of filing a list of, and providing notice directly to, all such equity security

holders of HoldCo, the Debtors will file an 8-K with the U.S. Securities and Exchange Commission

on or around the Petition Date, which will notify equity security holders of HoldCo of the

commencement of these cases and provide a link to the website relating to the chapter 11 cases set

up by Kroll Restructuring Administration LLC, the Debtors’ proposed claims and noticing agent

(the “Claims and Noticing Agent”). In addition, the Debtors (a) filed with the HoldCo petition a

list of holders of five percent or more of its common stock and (b) as soon as it is practicable

following the date hereof, will cause the notices required under Bankruptcy Rule 2002(d) to be

served on registered record holders of HoldCo’s common stock. Under these circumstances, the

Debtors respectfully request that the requirements to file a list of and to provide notice directly to

HoldCo’s equity security holders should be modified.

C.     The Court Should Allow the Debtors to File a Consolidated List of the Cyber Security
       Incident Counsel List and a General Unsecured Creditors List

       17.     Pursuant to Bankruptcy Rule 1007(d), a debtor shall file “a list containing the name,

address and claim of the creditors that hold the 20 largest unsecured claims, excluding insiders”

(the “Top 20 List”). Fed. R. Bankr. P. 1007(d). The Top 20 List is primarily used by the Office

of the U.S. Trustee to evaluate the types and amounts of unsecured claims against a debtor and

thus identify potential candidates to serve on an official committee of unsecured creditors that may



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be appointed in the debtor’s case under section 1102 of the Bankruptcy Code. See, e.g., In re

Dandy Doughboy Donuts, Inc., 66 B.R. 457, 458 (Bankr. S.D. Fla. 1986) (“The purpose of the

separate list of 20 largest creditors required by this provision in the rules is to enable the clerk to

identify members and the court to appoint immediately an unsecured creditors’ committee in

compliance with 11 U.S.C. § 1102(a)(1).”); see also 9 COLLIER ON BANKRUPTCY ¶ 1007.04 (16th

ed. 2025) (“[T]he larger [unsecured creditor] list and information about the claims of the creditors

on the list enables the United States Trustee to determine the different types of claims existing in

order to assure that a fully representative committee is appointed.”).

                 1.       Cyber Security Incident Counsel List

        18.      As detailed more fully in the First Day Declaration, the Company is currently

subject to various lawsuits and arbitration proceedings related to the Cyber Security Incident that

was reported by the Company in October 2023.7 Over 50 class action and state court lawsuits have

been filed against the Company to date, and approximately 35,000 claimants have initiated, filed

or threatened to commence arbitration claims against the Company. Thus, the overwhelming

majority of claims against the Debtors in these chapter 11 cases originate from the Cyber Security

Incident. Because all of the claimants holding claims arising from the Cyber Security Incident

(the “Cyber Security Incident Claims” and, holders of such claims, the “Cyber Security Incident

Claimants”) hold unliquidated, contingent claims against the Debtors, it is impossible for the

Debtors to determine, for purposes of filing the Top 20 List pursuant to Bankruptcy Rule 1007(d),



7   In early October 2023, the Company reported that a threat actor accessed a select number of individual 23andMe
    accounts through a process called “credential stuffing,” which allowed the threat actor to access less than 0.1%,
    or roughly 14,000 user accounts. However, the threat actor was able to use these compromised accounts to access
    information that other customers connected to such compromised accounts consented to share through 23andMe’s
    DNA Relatives or Connections features. The Company determined that as a result of the Cyber Security Incident,
    the threat actor accessed, without authorization, personal information relating to approximately 7 million
    customer accounts.



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which Cyber Security Incident Claimants hold the “largest” unsecured claims in these chapter 11

cases.

         19.   The Debtors believe that filing a list of all law firms representing plaintiffs who

have filed or asserted claims arising out of the Cyber Security Incident as of the Petition Date

(the “Cyber Security Incident Counsel List”) in lieu of a Top 20 List, will allow the Debtors to

provide the most accurate disclosure of information required by Bankruptcy Rule 1007(d) in light

of the unliquidated nature of the Cyber Security Incident Claims. Accordingly, the Debtors are

seeking authority to file the Cyber Security Incident Counsel List in lieu of a Top 20 List that

includes individual holders of Cyber Security Incident Claims. In addition, the Debtors will file a

consolidated list of their largest unsecured claims, other than Cyber Security Incident Claims, as

described below.

               2.      List of 30 Largest Unsecured Claims Other than Cyber Security
                       Incident Claims

         20.   Because a large number of creditors may be shared among the Debtors, the Debtors

request authority to file a single, consolidated list of their 30 largest general unsecured creditors

(the “Top 30 List”). The Top 30 List will help alleviate administrative burdens, costs, and the

possibility of duplicative service.

         21.   The Debtors anticipate the U.S. Trustee will appoint an official committee of

unsecured creditors (the “Committee”) in these chapter 11 cases. As such, the Debtors believe

that filing a consolidated list of the Debtors’ largest creditors will better represent the Debtors’

most significant unsecured creditors and aid the U.S. Trustee in its efforts to communicate with

these creditors.

         22.   Under section 105(a) of the Bankruptcy Code, “[t]he court may issue any order,

process, or judgment that is necessary or appropriate to carry out the provisions of this title.”



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11 U.S.C. § 105(a). Based on the foregoing, the Debtors submit that ample cause exists to

authorize the Debtors to file a consolidated list of their largest unsecured creditors.

D.     The Court Should Authorize the Debtors to File a Consolidated List of Creditors in
       Lieu of Filing Reformatted Creditor Matrices

       23.     Section 521(a) of the Bankruptcy Code, Bankruptcy Rule 1007(a)(1), and Local

Rules 1002(C) and 1007-7 require a debtor in a voluntary chapter 11 case to file a list containing

the name and complete address of each creditor. Additionally, Local Rule 1007-7(A), the

Procedures Manual accompanying the Local Rules, the CM/ECF Administrative Procedures, and

the Court’s Instructions for CM/ECF Matrix (collectively, the “Creditor Matrix Procedures”)

instruct debtors to follow specific formatting requirements for electronically filed creditor

matrices.

       24.     The Debtors, working together with the Claims and Noticing Agent, already have

prepared a single, consolidated list of all the Debtors’ creditors (the “Creditor Matrix”) in

electronic format. In lieu of filing individual and reformatted creditor matrices for each Debtor in

accordance with the Creditor Matrix Procedures, the Debtors are prepared to submit to the Clerk

of the Court and the U.S. Trustee a redacted and unredacted Creditor Matrix in electronic format

in accordance with the Procedures as defined and described below. In addition, for Represented

Cyber Security Incident Claimants (as defined below), the Debtors propose listing the mailing

address for each such claimant’s counsel of record, in lieu of the mailing address or email address

associated with each Represented Cyber Security Incident Claimant.

       25.     Reformatting the existing Creditor Matrix in accordance with the Creditor Matrix

Procedures would be time-consuming and, more importantly, would greatly increase the risk of

error. As such, the Debtors believe their request to file the Creditor Matrix, as it is currently

formatted, is reasonable and warranted under the circumstances.



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E.     The Court Should Authorize the Debtors to Redact Personal Information

       26.     The Debtors request authority to redact from any paper filed or to be filed with the

Court in these chapter 11 cases, including, but not limited to, the Creditor Matrix, the Top 30 List,

the Schedules and Statements, and any related affidavits of service, the names, home addresses,

and email addresses (“Personal Information”) of natural persons—including, but not limited to,

the Debtors’ employees, customers, individual equity holders and Cyber Security Incident

Claimants (but excluding, for the avoidance of doubt, the names of counsel representing Cyber

Security Incident Claimants as well as the mailing addresses associated with such counsel).

       27.     Section 107(b)(1) of the Bankruptcy Code requires bankruptcy courts, on request

of a party in interest, to “protect an entity with respect to a trade secret or confidential research,

development, or commercial information.” 11 U.S.C. § 107(b)(1). Pursuant to Bankruptcy Rule

9018, upon motion, “the court may make any order which justice requires . . . to protect the estate

or any entity in respect of a trade secret or other confidential research, development, or commercial

information.” Fed. R. Bankr. P. 9018.

       28.     Moreover, Section 107(c) of the Bankruptcy Code provides that the Court:

       [F]or cause, may protect an individual, with respect to the following types of
       information to the extent the court finds that disclosure of such information would
       create undue risk of identity theft or other unlawful injury to the individual or the
       individual’s property:

       (A)     [a]ny means of identification . . . contained in a paper filed, or to be filed in
       a case under [the Bankruptcy Code].

       (B)     [o]ther information contained in a paper described in subparagraph (A).

11 U.S.C. § 107(c)(1).

       29.     Cause exists pursuant to sections 107(b)(1) and 107(c) of the Bankruptcy Code to

authorize the Debtors to redact Personal Information from any paper filed or to be filed with the

Court or otherwise made public in these chapter 11 cases, including the Creditor Matrix, the Top


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30 List, and the Schedules and Statements, because (a) certain Personal Information is

commercially sensitive, as competitive genetic testing companies may try to contact current

customers; (b) such Personal Information may also be subject to data protection laws regulating

the collection, storage, sharing, use, disclosure, processing, transferring, and protection of personal

information, including, but not limited to, the California Consumer Privacy Act (as amended by

the California Privacy Rights Act) and Section 5 of the Federal Trade Commission Act; (c) there

are disclosure risks associated with violating the Canadian Personal Information Protection and

Electronic Documents Act, the United Kingdom General Data Protection Regulation (“UK

GDPR”), the European General Data Protection Regulation (“EU GDPR”), and other similar laws,

exposing the Debtors to potential civil liability and significant financial penalties; and (d) the

Debtors have a duty to their customers and other stakeholders to maintain the confidentiality of

their Personal Information.

        30.      Moreover, redaction is necessary to protect information that may create “undue risk

of identity theft or other unlawful injury to the individual or the individual’s property.” 11 U.S.C.

§ 107(c)(1). The risk in relation to 11 U.S.C. § 107(c)(1) is not merely speculative. In at least one

recent chapter 11 case, the abusive former partner of a debtor’s employee used publicly accessible

creditor and employee information filed in the chapter 11 case to track the employee at her new

address that had not been publicly available until then, forcing the employee to change her address

again.8 More recently, in a chapter 11 case in the Southern District of New York, at least 13

phishing scams have been uncovered,9 including instances where scammers posed as associates of


8   The incident, which took place during the first Charming Charlie chapter 11 proceedings in 2017, is described in
    the “creditor matrix motion” filed in Charming Charlie Holdings Inc., No. 19-11534 (MFW) (Bankr. D. Del. Jul.
    11, 2019), ECF No. 4.
9   See In re Celsius Network, LLC, No. 22-10964 (MG), Docket Nos. 1527, 1904, 1992, 2082, 2896, 3121, 3251,
    3422, 3722, 3932, 4070, 7729, and 7886.



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debtor’s counsel using fake email accounts purportedly from debtor’s counsel, posed as the

debtor’s claims agent, falsified a court order to provide for purported “filing fees” and “tax fees,”

called individual creditors from a number formerly associated with the debtor’s now defunct

customer center, or manipulated the automatic reply function of the debtor’s customer support

email system to send emails containing phishing URLs in the subject line to approximately

144,000 email addresses associated with individual creditors of the debtors, all designed to obtain

individual creditors’ personally identifiable information, account information, or to gain access to

their financial assets.

        31.     These events suggest that disclosure of Personal Information would run the risk of

violating certain data privacy laws, such as the requirement under the UK GDPR and EU GDPR

that any processing (including disclosure) of personal information must be necessary in relation to

its purpose. Here, disclosure of the unredacted names, home addresses and email addresses of

individual creditors on the public docket is not necessary for the purpose of reviewing the claim

amounts of individual creditors in connection with a plan of reorganization or administering the

chapter 11 cases, and the proposed redaction would be a less intrusive way of achieving this

purpose. The right of individual creditors not to have their unredacted names, home addresses and

email addresses disclosed on the public docket overrides the legitimate interest of disclosing such

information to facilitate these chapter 11 cases.

        32.     For these reasons, the Debtors respectfully propose that the Court approve the

following filing procedures (the “Procedures”) with respect to the Creditor Matrix (as well as any

other document filed in these chapter 11 cases that contains Personal Information). The Debtors

have conferred with the Clerk of the Court and have been instructed that the Procedures, if

approved by the Court, would be appropriate: (a) the Debtors will file a redacted copy of the




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Creditor Matrix on the Petition Date; (b) within two days after the entry of the Proposed Order,

the Debtors shall provide an unredacted version of the Creditor Matrix to the Clerk of the Court

and provide copies to the U.S. Trustee and any official committee appointed in these chapter 11

cases and such unredacted Creditor Matrix shall not be filed or otherwise uploaded to the Court’s

docket; (c) the Clerk of the Court or, if requested by the Clerk of the Court, the Debtors shall

provide the unredacted version of the Creditor Matrix to any party appropriately requesting such

unredacted Creditor Matrix for the purpose of noticing parties in these chapter 11 cases

(a “Requesting Party”) within 36 hours of such Requesting Party or the Clerk of the Court, as the

case may be, providing notice of the request to counsel to the Debtors, with copies to the U.S.

Trustee, the Clerk of the Court and counsel to the Committee, if any, provided that nothing herein

shall prejudice the rights of the Debtors, the U.S. Trustee, the Clerk of the Court or the Committee,

if any, to object to such request; and (d) for each amended Creditor Matrix, if any, the Debtors

shall provide both a redacted and an unredacted electronic copy of the amended Creditor Matrix

to the Clerk of the Court, the U.S. Trustee, and the Committee, if any, within two days thereafter.

       33.     Absent such relief, the Debtors (a) would run the risk of violating applicable data

privacy laws, thereby exposing them to severe monetary penalties that could threaten the value of

the Debtors’ estates during this sensitive stage of their restructuring, (b) would unnecessarily

render individuals more susceptible to identity theft and phishing scams, and (c) could jeopardize

the safety of the Debtors’ employees, customers, and other individual creditors (including Cyber

Security Incident Claimants) by publishing their home and email addresses without any advance

notice or opportunity to opt out or take protective measures.




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F.     The Court Should Approve the Manner of Notifying Creditors of the Commencement
       of These Chapter 11 Cases

       34.     Pursuant to Local Rule 2002-2(A), the Court may designate a debtor in possession

or other party to provide notice where the interests of justice and efficiency are served. L.R. 2002-

2(A). Moreover, Bankruptcy Rule 2002(a)(1) provides that the clerk (or other person as directed

by the court) must give the debtor, the trustee, all creditors, and any indenture trustee at least 21

days’ notice by mail of the meeting of creditors under section 341 of the Bankruptcy Code.

Bankruptcy Rules 2002(m) and 9007 empower the Court with the general authority to regulate the

manner in which notices required under the Bankruptcy Rules are provided.              Specifically,

Bankruptcy Rule 2002(m) provides that “[t]he court may from time to time enter orders

designating the matters in respect to which, the entity to whom, and the form and manner in which

notices shall be sent except as otherwise provided by these rules.” Fed. R. Bankr. P. 2002(m).

Furthermore, the Bankruptcy Court has authority under Bankruptcy Rule 2002(l) to “order notice

by publication if it finds that notice by mail is impracticable or that it is desirable to supplement

the notice.” Fed. R. Bankr. P. 2002(l). Bankruptcy Rule 9007 provides that “[w]hen notice is to

be given under these rules, the court shall designate, if not otherwise specified herein, the time

within which, the entities to whom, and the form and manner in which the notice shall be given.”

Fed. R. Bankr. P. 9007. Section 105(a) of the Bankruptcy Code adds that “[t]he Court may issue

any order, process, or judgment that is necessary or appropriate to carry out the provisions of this

title.” 11 U.S.C § 105(a).

       35.     The Debtors seek authority to have the Claims and Noticing Agent to serve the

Notice of Commencement by regular, first-class mail, postage prepaid, or electronic mail on those

entities entitled to receive notice pursuant to Bankruptcy Rule 2002(a) and Local Rule 2002-1,

with the exception of Cyber Security Incident Claimants, no later than two days after such Notice



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of Commencement is entered by the Court in these chapter 11 cases, except for Cyber Security

Incident Claimants.

       36.     The Debtors further request authority for the Claims and Noticing Agent to serve,

no later than two days after such Notice of Commencement is entered by the Court in these chapter

11 cases, the Notice of Commencement in accordance with the following procedures:

               a.      send, by electronic mail, to Cyber Security Incident Claimants for whom
                       the Debtors have sufficient contact information as of the Petition Date and
                       who have: (i) filed lawsuits or arbitration claims against the Debtors on
                       account of Cyber Security Incident Claims; (ii) entered into any settlement
                       agreement with the Debtors relating to a Cyber Security Incident Claim; or
                       (iii) received any payment from the Debtors or any of the Debtors’ insurers
                       relating to a Cyber Security Incident Claim; and

               b.      if any Cyber Security Incident Claimant has known counsel (each a
                       “Represented Cyber Security Incident Claimant”), the Claims and Noticing
                       Agent shall send the Notice of Commencement to such counsel (by
                       electronic mail and/or regular, first-class mail, postage prepaid), which
                       counsel shall immediately forward the Notice of Commencement to the
                       Represented Cyber Security Incident Claimant; provided that for counsel
                       representing multiple Represented Cyber Security Incident Claimants, the
                       Debtors shall serve the Notice of Commencement only a single time on such
                       law firms (at each relevant address and/or electronic mail address) on behalf
                       of all such counsel’s clients.

       37.     The Debtors believe that allowing the Claims and Noticing Agent to assist with

providing prompt notice to all applicable parties will ease administrative burdens that otherwise

fall on the Court and the U.S. Trustee.

       38.     The Debtors also propose to publish, as soon as practicable, the Notice of

Commencement (a) in The Wall Street Journal and (b) on the Case Website (as defined below).

Publication of the Notice of Commencement as proposed above is the most practical method by

which to notify unknown holders of Cyber Security Incident Claims who do not receive the Notice

of Commencement and other parties in interest of the commencement of these chapter 11 cases.

Notice by publication will also ensure an efficient use of limited estate resources.



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        39.     Moreover, the Debtors, through the Claims and Noticing Agent, have established a

dedicated case website at https://restructuring.ra.kroll.com/23andMe (the “Case Website”) and

email address in connection with these chapter 11 cases. The Case Website and email address will

be prominently displayed in all printed notice documents, as well as other relevant information

relating to these chapter 11 cases. The Case Website will inform creditors and parties in interest

in plain English of important dates and deadlines and afford them the ability to view key documents

in this chapter 11 case free of charge, including the Notice of Commencement.

        40.     For the foregoing reasons, the Debtors submit that approval of the manner of

service of the Notice of Commencement, as set forth above, is appropriate in these chapter 11

cases, is well within the Court’s equitable powers under section 105 of the Bankruptcy Code and

Bankruptcy Rule 9007, and in the best interests of the Debtors, their estates, and all other parties

in interest in these cases.

                                 Immediate Relief Is Necessary

        41.     Bankruptcy Rule 6003 empowers a court to grant relief within the first 21 days after

the commencement of a chapter 11 case if “relief is needed to avoid immediate and irreparable

harm.” For the reasons discussed herein and in the First Day Declaration, the Debtors believe an

immediate and orderly transition into chapter 11 is critical to the viability of their operations and

that any delay in granting the relief requested could hinder the Debtors’ operations and cause

irreparable harm. Failure to obtain the requested relief during the first 21 days of these chapter 11

cases would severely disrupt the Debtors’ operations at this critical juncture and imperil the

Debtors’ restructuring efforts. The relief requested herein is necessary for the Debtors to operate

their business in the ordinary course and preserve the value of their estates for the benefit of

stakeholders. Accordingly, the Debtors respectfully submit that Bankruptcy Rule 6003 has been

satisfied.


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                                       Reservation of Rights

       42.     Nothing contained herein or any actions taken pursuant to such relief requested is

intended to be or should be construed as: (a) an admission as to the amount of, basis for, or validity

of any claim against a Debtor entity under the Bankruptcy Code or other applicable law; (b) a

waiver of the Debtors’ or any other party in interest’s right to dispute any claim on any grounds;

(c) a promise or requirement to pay any claim; (d) an implication or admission that any particular

claim is of a type specified or defined in this motion or any order granting the relief requested by

this motion or a finding that any particular claim is an administrative expense claim or other

priority claim; (e) a request or authorization to assume, adopt, or reject any agreement, contract,

or lease pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity,

priority, enforceability, or perfection of any lien on, security interest in, or other encumbrance on

property of the Debtors’ estates; (g) a waiver or limitation of the Debtors’ or any other party in

interest’s rights under the Bankruptcy Code or any other applicable law; (h) a waiver of the

obligation of any party in interest to file a proof of claim; or (i) a concession by the Debtors that

any liens (contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the

relief requested in this motion are valid, and the rights of all parties in interest are expressly

reserved to contest the extent, validity, or perfection of, or seek avoidance of, all such liens. If the

Court grants the relief sought herein, any payment made pursuant to the Court’s order is not

intended and should not be construed as an admission as to the validity of any particular claim or

a waiver of the Debtors’ or any other party in interest’s rights to subsequently dispute such claim.

                                                Notice

       43.     The Debtors will provide notice of this motion to the following parties: (a) the

Office of the United States Trustee for the Eastern District of Missouri; (b) the holders of the 30

largest unsecured claims against the Debtors (on a consolidated basis); (c) the law firms


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representing claimants who have filed or asserted claims arising out of the Cyber Security Incident

as of the Petition Date; (d) the agent/lender under any proposed postpetition financing facility and

its counsel, if applicable; (e) the United States Attorney’s Office for the Eastern District of

Missouri; (f) the Internal Revenue Service; (g) the Securities and Exchange Commission; (h) the

Federal Trade Commission; (i) the state attorneys general in all 50 states; and (j) any party that has

requested notice pursuant to Bankruptcy Rule 2002 (collectively, the “Notice Parties”). Notice of

this motion and any order entered hereon will be served in accordance with Local Rule 9013-

3(A)(1). The Debtors submit that, in light of the nature of the relief requested, no other or further

notice need be given.

       44.      A copy of this motion is available on (a) PACER at https://pacer.uscourts.gov/ and

(b) the website maintained by the Debtors’ proposed claims and noticing agent, Kroll

Restructuring Administration LLC, at https://restructuring.ra.kroll.com/23andMe.

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       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order

and grant such other relief as the Court deems appropriate under the circumstances.

Dated: March 24, 2025                       Respectfully submitted,
St. Louis, Missouri

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